Case 0:01-cv-02086-DWF-AJB                 Document 356-2          Filed 09/02/2004         Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA
                                        FOURTH DIVISION


  RODERICK ARNOLD, et al.,                         )    CIVIL ACTION NO. 01-CV-2086
  on behalf of themselves and all others           )    (DWF/AJB)
  similarly situated,                              )
                                                   )    CLASS ACTION
                   Plaintiffs,                     )
                                                   )
  v.                                               )
                                                   )
  CARGILL, INCORPORATED,                           )
                                                   )
                   Defendant.                      )


                         NOTIFICATION OF CONVENTIONAL FILING

                                                   OF

                             APPENDIX 4 (Reply): Plaintiffs’ Exhibits
                                        PXS. 52-1340

                                       [FILED UNDER SEAL]



         This document is a place holder for the following item(s) which are filed in conventional or

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         Appendix 4 (Reply): Plaintiffs’ Exhibits, Pxs. 52-1340

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Case 0:01-cv-02086-DWF-AJB              Document 356-2         Filed 09/02/2004      Page 2 of 2



 ___ Other (description):

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 Dated: September 2, 2004                         SPRENGER & LANG, PLLC




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